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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

RODNEY GRANT
                                          *                 CIVIL ACTION
                                          *
VERSUS                                    *                 NUMBER: 17-02797
                                          *
MARLIN GUSMAN                             *                 SECTION “G”
CARMEN DESADIER                           *                 JUDGE JOLIVETTE BROWN
SIDNEY HOLT                               *
DJUANA BIERRIA                            *                 MAGISTRATE “3”
JAMES LEBLANC                             *                 JUDGE DOUGLAS
TIMOTHY HOOPER                            *
CHRIS STINSON                             *
LASALLE MANAGEMENT COMPANY                *
JOHN DOES 1-10                            *
ABC INSURANCE COMPANIES 1-10              *
*******************************************
              MEMORANDUM IN OPPOSITION TO PLAINTIFF’S
       MOTION FOR SUMMARY JUDGMENT AGAINST OPSO DEFENDANTS

MAY IT PLEASE THE COURT:

       The Plaintiff misrepresents numerous facts to the Court and ignores the glaring

impediment to all of his claims against the OPSO defendants: that the period of overdetention

complained of is within the valid July 18, 2016 sentence which he agreed. Because his

incarceration between June 30, 2016 and July 12, 2016 were all caused by his July 18, 2016

sentence, any incarceration-related claims are barred by law and must be dismissed.

Additionally, ignoring the Heck issue for the sake of argument, there are numerous disputed

issues of fact, most importantly, the OPSO defendants dispute whether the plaintiff served a year

on the offense for which he pled guilty.

       I.      Plaintiff’s claims against OPSO are all Heck barred.

       Because of the steps taken by the plaintiff and his counsel in this case, it is factually

different than all of those overdetention matters referenced by the plaintiff in which Heck

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preclusion was denied or deemed “unavailing.” None of those cases involved a prisoner whose

sentence was vacated and who subsequently accepted a sentence which encompassed the alleged

period of overdetention.       Locating even a district court case with such specifically similar

circumstances is obviously difficult. However, the Ninth Circuit recently addressed an identical

scenario in two separate opinions, and as discussed below, their holding is consistent with

longstanding jurisprudence related to Heck and Heck’s logic. Importantly, while the Court has

considered whether Heck applies to DOC in response to its Motion to Dismiss 1, the OPSO

defendants did not argue Heck at the Motion to Dismiss stage, 2 and thus this Court has never

considered whether Heck applies to alleged overdetention by OPSO 3 between June 30 and July

12, 2016.

        On July 18, 2016, while in the physical custody of DOC, Mr. Grant’s matter went before

Judge Buras. Judge Buras vacated her original, June 30, 2016 sentence and resentenced him to

“credit for time served,” a sentence which includes every day he spent incarcerated between June
                                  4
27, 2016 and July 18, 2016.           Mr. Grant understood that at the time Judge Buras vacated his
                                                                                                  5
first sentence, the judge “took [the sentence] back or whatever, so that there is no sentence.”

Mr. Grant’s sentence under Case No. 417717 “H” remains the “credit for time served” agreed to

and entered on July 18, 2016, six days after Mr. Grant left OPSO custody never to return on

these charges.

        The decision by Mr. Grant to accept a sentence spanning every day from June 27, 2016

through July 18, 2016 was one which caused his imprisonment on every one of those dates. As

such, Mr. Grant is now precluded from making an incarceration-related attack of any of those

1
  See R. Doc. 49.
2
  See R. Doc. 25.
3
  See R. Doc. 47.
4
  See R. Doc. 136-10, Sentencing Transcript of Rodney Grant.
5
  R. Doc. 136-5, Deposition of Rodney Grant, p. 38:19-24.

                                                       2
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dates as being those on which he was “falsely imprisoned” or “overdetained.” Any such finding

is an attack on Mr. Grant’s July 18 sentence, and would be improper under the law.

       Given plaintiff’s enjoyment of graphical depictions in his memoranda, it is appropriate to

use the only relevant graphic which applies to this case.

                                                                     Released by
                                                                       OPSO

6/27/16 6/30/16        7/1 7/2 7/3 7/4 7/5 7/6 7/7 7/8 7/9 7/10 7/11 7/12             7/18
Arrest Vacated         Alleged OPSO Overdetention during Vacated Sentence            Resentenced
        Sentence       *    * * * * * * *               *   *    *    *



                     Time Served Period on Current and Valid 7/18 Sentence



       Mr. Grant’s June 30, 2016 sentence is an absolute nullity. U.S. v. Castrelllon, 956 F.2d

1165 (7th Cir. 1982)(citing United States v. Barnes, 948 F.2d 325, 330 (7th Cir.1991). “A

sentencing court, therefore, must begin the resentencing hearing with a ‘clean slate. . .’” Id.

Whether parties raised issues during the hearing on the original, now vacated, sentence is

irrelevant. Id., citing United States v. Shaw, 883 F.2d 10, 12 (5th Cir.), cert. denied, sub nom.

Baker v. United States, 493 U.S. 983 (1989).

       Mr. Grant’s July 18, 2016 sentence of “time served” includes every single day served

between June 27, 2016 and July 18, 2016. Courts have addressed section 1983 claims involving

defendants who bring incarceration-related claims surrounded a vacated sentence, but who have

also subsequently received a different sentence for the same offense. The Ninth Circuit recently

addressed this very issue in Taylor v. County of Pima, 913 F.3d 930 (9th Cir. 2019) rehearing

denied and rehearing en banc denied 933 F.3d 931 (9th Cir. 2019) docketed petition for cert.

12/12/19. Following the court vacating a 1972 conviction for which Taylor served 42 years, he


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sought incarceration-related damages in a section 1983 lawsuit. Id. at 935. However, following

his 1972 sentence being vacated, Taylor pled no contest to resolve those same charges in 2013.

Id.   The Court found that Heck precluded Taylor from stating a section 1983 claim “if a

judgment in his favor ‘would necessarily imply the invalidity of his [2013] conviction or

sentence.’” Id. (citing Heck at 487, 114 S.Ct. 2364). While Taylor alleged that the initial 1972

sentence was “plagued by constitutional violations and that those errors initially caused his

incarceration,” the Court noted “[c]ritically, however, all of the time that Taylor served in prison

is supported by the valid 2013 state-court judgment.” Id. “The state court accepted the plea

agreement and sentenced Taylor to time served. For that reason, even if Taylor proves

constitutional violations concerning the 1972 conviction, he cannot establish that the 1972

conviction caused any incarceration-related damages. As a matter of law, the 2013 conviction

caused the entire period of his incarceration.” Id. (emphasis added). To illustrate what occurred

in Taylor:



1972 Sentence         1972       1980      1990        2000         2010               2013
   (Vacated)              Alleged Period of Incarceration-Related Errors              Resentenced
                        *           *          *           *             *



                     Time Served Period on Current and Valid 2013 Sentence

        Mr. Grant’s situation, involving a later sentence which encompasses the period of time

during which incarcerated-related harm is alleged, is identical to that in Taylor. In response to

the critical dissent in Taylor, the Court again clarified its logic in Roberts v. City of Fairbanks,

2020 WL 356959 (9th Cir. 2020), noting that Taylor did not bar claims for all damages from his

initial conviction, simply incarceration-related ones. “We expressly held there that Heck did not



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bar Taylor from seeking damages related to the 1972 conviction—just that Taylor could not seek

incarceration-related damages, because the valid 2013 conviction “[a]s a matter of law ... caused

the entire period of his incarceration.” Id. at 7 (emphasis theirs)( citing Taylor, 913 F.3d at 935

and Cf. Jackson v. Barnes, 749 F.3d 755, 762 (9th Cir. 2014)). The Court stressed that last point,

stating, “we called the fact that the 2013 conviction supported his entire period of incarceration

‘critical[ ].’” Id.     It should be noted that Heck preclusion not only applies to plaintiff’s federal

claims, but also applies to all of the plaintiff’s state law claims related to his alleged wrongful

imprisonment. See Restrepo v. Fortunato, 556 So. 2d 1362 (La. App. 5 Cir.), writ denied, 560

So. 2d 11 (1990). See also Thomas v. Pohlman, 681 Fed.Appx. 401 (5th Cir. 2017)(any state law

claim surviving Heck barring must have a separate factual basis which does not challenge the

validity of conviction and sentence; allowing excessive force claim but precluding false arrest.

Mr. Grant’s July 18, 2016 sentence to “time served” (the exact sentence Taylor received in 2013)

covered the entire period from the date of his June 27 arrest until his July 18 plea. Thus, “as a

matter of law,” his July 18, 2016 sentence “caused the entire period of his incarceration.” Taylor,

933 F.3d at 935.

           II.     The Plaintiff’s Memorandum is littered with misstatements of fact and law.

           a.      The plaintiff did not spend a year in OPSO custody.

           In his Memorandum, the plaintiff goes to great lengths to argue that he has obtained some

admission from the Sheriff that the plaintiff was “eligible for immediate release.” However, in

response to a generic, non-plaintiff specific question, Sheriff Gusman clearly stated that “[i]f

they spent a year in our facility and they got sentenced to a year, and they got credit for time

served, it would seem that – that year is complete, yes.” 6 (emphasis added). It is undisputed that



6
    See Plaintiff’s Memorandum in Support, p. 14, FN99 (citing Depo of Sheriff Gusman at 67:7-68:3).

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the plaintiff did not serve a year in the Orleans Justice Center (or any Orleans Parish Jail).7

Plaintiff admits he did not spend 350 days or more in Orleans Parish custody between 2008-

2015, the dates on which he alleges he was provided with time served. 8 Even if one adds the

entirety of the period between his booking on June 27, 2016 and his release from OPSO on July

12, 2016, 9 he did not serve one year in Orleans Parish custody.           As the plaintiff cannot even

establish that he served all of his time, and that he had at least 15 additional days to serve until he

reached 365 days, he cannot succeed on any false imprisonment claim.               More importantly, as

already discussed, the plaintiff is barred from raising any claims, as the plaintiff’s imprisonment

was caused by his July 18, 2016 sentence of “credit for time served,” a period which covers all of

the days on which he was allegedly overdetained. As such, he is necessarily precluded from

claiming false imprisonment.

        When Judge Buras ordered credit for time served from 2008-2016, the Sheriff’s Office

was reasonably expected to award credit in accordance with Louisiana law. La. C.Cr.P. art.

880(E) states: [a] defendant shall not receive overlapping jail credit, except in the case of

concurrent sentences and then only for time spent in jail on the instant felony.” (emphasis

added). Louisiana courts have likewise been consistent in stating a “defendant is entitled to

credit for time served against the sentence for the instant offense if the time he served before the

imposition of this sentence has not been credited against any other sentence.” (emphasis added)

State v. Denomes, 95-1201 (La.App. 1. Cir. 5/10/96) 674 So.2d 465 at 472; writ denied 683

So.2d 266 (La. 1996), citing State v. Goodjoint, 26,246 (La.App. 2nd Cir. 8/17/94), 641 So.2d

730, 731; see also State v. Norris, 649 So. 2d 160, 162 (La. App. 2nd Cir. 1995); State v.


7
  See R. Doc. 136-7, p.3 ( Defendant in custody of LA-DOC INCARCERATION pursuant to an Iberia Parish Arrest
from 2008-2015.)
8
  See R. Doc. 136-16, Plaintiff’s Responses to Discovery, pp. 9-10, Request for Admission No. 4.
9
  See R. Doc. 136-16, Plaintiff’s Responses to Discovery, p. 10, Req’s for Admission Nos. 4-5.

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Williams, 643 So. 2d 284, 286 (La. App. 2nd Cir. 1994); State v. Green, 546 So. 2d 348, 350 (La.

App. 3rd Cir. 1989).

        The plaintiff has stated that: 1) he has no evidence sufficient to admit or deny that he

spent no time in Orleans Parish custody between 2008-2015 10; 2) he did not spend 350 days or

more in the custody of the Orleans Parish Sheriff’s Office between 2008 and 2015 11; 3) he was

incarcerated between 2008-2015 in DOC for an offense committed in Iberia Parish 12; 4) he was

booked under Case No. 417717 “H” on June 27, 2016 13; and, 5) he was released from OPSO on

July 12, 2016. 14 No mathematical calculation can possibly result in a determination that Rodney

Grant spent 1 year in custody on the instant felony (the Orleans Parish burglary) between the

years of 2008 and present, which is the only time for which he could legally receive credit under

La. C.Cr.P. 880(E). The plaintiff cannot reasonably argue that the Judge’s sentence of credit for

time served from 2008-2015, which contains no reference to applying credit to a different felony

in violation of La. C.Cr.P. art. 880(E), was meant to apply to time which could not be legally

credited to him.

        In reality, the plaintiff’s alleged overdetention is not based upon imprisonment beyond

the end of a sentence, because he has no facts to prove when his sentence ended. The plaintiff

repeatedly suggests that Judge Buras “issued a sentencing order that was to result in an

immediate release.” However, the evidence he cites to is a July 25, 2016 email from Judge

Buras to the Department of Corrections – an email sent 13 days after he was released from OJC,




10
   See R. Doc. 136-16, Plaintiff’s Responses to Discovery, pp. 9, Request for Admission No. 3.
11
   See R. Doc. 136-16, Plaintiff’s Responses to Discovery, pp. 9-10, Request for Admission No. 4.
12
   See R. Doc. 136-7, p.3 ( Defendant in custody of LA-DOC INCARCERATION pursuant to an Iberia Parish
Arrest from 2008-2015.)
13
   See R. Doc. 136-16, Plaintiff’s Responses to Discovery, pp. 9-10, Request for Admission No. 4 (Second No. 4).
14
   See R. Doc. 136-16, Plaintiff’s Responses to Discovery, pp. 10, Request for Admission No. 5.

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and which was not sent to any OPSO staff. 15 He can provide no evidence that Judge Buras told

or ordered OPSO to release the plaintiff immediately.

           Plaintiff has further provided no legal authority for his suggestion that he has a right to

have his time immediately calculated. He has provided no legal authority for his suggestion that

a sentence or release date is calculated by an inmate, his attorney, or any authority other than the

legal custodian.            He has provided no factual basis of his alleged “release date” or the

“completion of his sentence.” He has provided no expert testimony opining that Mr. Grant’s

calculations were consistent with his own. Furthermore, as examined in Cannady v. Clay

County, discussed in subsection II(b) of this memorandum, plaintiff can point to no legal

authority by which the Sheriff can simply release a DOC inmate, or even to calculate his release

date, and thus the Sheriff cannot be held liable. He can also point to no legal authority by which

the Sheriff has a duty to immediately calculate a sentence and transfer him to DOC, and as set

forth in subsection II(c) of this memorandum, is actually set by Louisiana statute.

           b.       The plaintiff’s policy arguments all rest upon a necessary expansion of the
                    law by this Court.

           The plaintiff alleges that OPSO “chose” not to release someone after the agency knows

an individual has served more time than his sentence; “chose” to drive paperwork to DOC once

per week, and “chose” to wait indefinitely to send that person to DOC.               The legal logic

surrounding these claims is unsupported by any case, and requires this Court to expand the law

in order for him to prevail. While plaintiff cites numerous cases of “overdetention” leading to

constitutional violations, every one of plaintiff’s references to “expired sentences” are references

to jurisprudence dealing with detention beyond actual expired sentences in other cases.

Likewise, any of the plaintiff’s many references to his “release date” or “end of sentence” are


15
     See. R. Doc. 129-22.

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unsupported by any evidence, as it is undisputed that the plaintiff was not given a release date by

Judge Buras, nor she declare his sentence ended on any date. 16 Instead, plaintiff’s references to

his “release date” or his “end of sentence” are something the plaintiff is creating based on his

own interpretation of facts and law, and they require a finding that the Sheriff and DOC should

have violated La. C.Cr.P. art. 880(E) in order to be true.    All the cases cited by the plaintiff are

directly distinguishable from the facts at hand.

           The plaintiff’s reliance upon Jauch v. Choctaw County, 874 F.3d 425 (5th Cir. 2017) is

unavailing, as that Court relied upon the violation of state law as the basis for a finding of

deliberate indifference. On page 16 of his Memorandum, the plaintiff states: “The Fifth Circuit’s

response was unambiguous: ‘This is simply wrong. Sheriff Halford is responsible for those

incarcerated in his jail . . . and the capias did not require him to impose the unconstitutional

detention policy.’” Those ellipses are not used to omit a word or series of words, but rather

omission of a direct citation to the state law which the Fifth Circuit found imposed that

responsibility. The actual quote is: “This is simply wrong. Sheriff Halford is responsible for

those incarcerated in his jail, Miss. Code Ann. § 19-25-69, and the capias did not require him to

impose the unconstitutional detention policy.” (italicized content omitted from plaintiff’s quote).

The plaintiff’s decision to omit the state law upon which the Fifth Circuit based its opinion in

Jauch, in an effort to mislead the Court into believing that the Fifth Circuit cast a general decree

upon Sheriffs at a federal or constitutional level is one which speaks volumes about the strength

of his argument.

           In its analysis in Jauch, the Fifth Circuit noted that Mississippi law expressly mandated

that an arraignment was required within 30 days of arrest. Id. at 431, 436 (“the procedure

challenged here does not represent the legislative judgment of the state and indeed conflicts with
16
     Exhibit C, Docket Master of Rodney Grant.

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the Mississippi legislature’s decree that all defendants be arraigned within 30 days.”)(emphasis

added).     Other courts have recognized that “Jauch rested on Mississippi law and the jailers’

authority to release detainees when they had been detained too long without an opportunity to

post bail,” citing the Fifth Circuit’s reliance on a Mississippi Supreme Court case which

“required sheriffs to prevent detention ‘for an unreasonable length of time.’” See Moya v.

Garcia, 895 F.3d 1229, 1235 (10th Cir. 2018); cert. denied 139 S.Ct. 1323 (2019).          The Fifth

Circuit itself has further distinguished Jauch’s reliance upon state law as the basis for its opinion.

In Cannady v. Clay County, 781 Fed.Appx. 350 (5th Cir. 2019), a plaintiff invoked Jauch in his

civil rights suit for not being brought to scheduled court appearances. The Fifth Circuit indicated

that there was no testimony that neither Mississippi statutory law nor the bench warrant’s

mandate required the Sheriff to physically present the plaintiff in Court, and that the plaintiff

would not have been brought to court absent a request by the judge, the prosecutor, or the

counsel. Id. at 352. The Fifth Circuit noted the lack of authority of the Sheriff to make such a

determination, stating that “the record makes clear that Sheriff Scott did not control whether

Cannady was called to court on January 23, 2013.” Id.

          Likewise in Douthit v. Jones, 519 F.2d 527 (5th Cir. 1980) and Whirl v. Kern, 407 F.2d

781 (5th Cir. 1969), the Fifth Circuit’s rulings cited by the plaintiff, both of which involved

qualified immunity and thus the analyses of objective reasonableness, hinged upon the existence

of a Texas state statute imposing a nondelegable duty upon a sheriff to incarcerate only those

persons whom he has lawful authority to imprison. See Douthit, 519 F.2d at 535, (citing Texas

Civil Code Ann. Art. 5116); see also Whirl, 407 F.2d at 794 (citing Texas Civil Code Art. Ann.

5116)(stating that “the statutory obligations of a Texas sheriff are not amorphous ones,” and

questioning whether “a sheriff’s statutory obligations to be effective only when he acts in willful



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disobedience of his official responsibilities.”) Furthermore, in Bryan v. Jones, 530 F.2d 1210

(5th Cir. 1976), “the Fifth Circuit observed that subsequent decisions ‘cast considerable doubt on

the wisdom or continued vitality of [Whirl].” Youmans v. Torres, 2019 WL 289809 (M.D. La.

1/22/19). In Bryan, a case which involved an error in the records of the District Attorney, the

Fifth Circuit found for the Sheriff and held that “if the errors take place outside his realm of

responsibility, he cannot be found liable because he has acted in good faith.” Youmans, 2019 WL

289809 at 5, quoting Bryan, 530 F.2d at 1215. The district court in Youmans found that the

prisoner plaintiff “is a DOC inmate and cannot be released from DOC until they calculate [his]

time.” Id.

       c.      The Sheriff lacks authority to execute a sentence at hard labor, as that
               authority is reserved for the Department of Corrections.

       In this matter, the plaintiff has referenced no Louisiana statute or jurisprudence which

requires that an inmate’s sentence be calculated within 48 hours. The plaintiff has referenced no

Louisiana statute or jurisprudence which gives the Sheriff the authority to execute a Court’s

sentence at hard labor, or to release an inmate sentenced to hard labor.

       Unlike La. R.S. 15:565, which authorizes the sheriff to immediately execute sentences

without hard labor (misdemeanor sentences), La. R.S. 15:566 specifies that, “[t]he sheriff or his

duly qualified deputy, within thirty days of the date upon which sentence to imprisonment has

been imposed, shall deliver the prisoner to the state correctional institution designated by the

Department of Corrections . . .”. (emphasis added). Louisiana law further provides a few

specific conditions by which a sheriff may request that an individual committed to DOC but

housed in a parish jail be immediately transferred to DOC. See La.R.S. 15:824. Specifically, La.

R.S. 15:824 requires that DOC accept, on a priority basis, “any such individual who has been

determined by the sheriff who has custody of the individual to be dangerous, an escape risk, or


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afflicted with a physical or mental disorder, upon request by the sheriff.” No statute allows the

Sheriff to execute a sentence at hard labor. The fact that the legislature specifically indicated the

Sheriff’s authority for sentencing execution relative to misdemeanors, and withheld such

authority in the very next statute, provides solid authority for this fact.

         Much like the Sheriff who did not control whether an inmate physically appeared in

Court (despite him being the custodian and transport officer) in Cannady County, supra, Sheriff

Gusman cannot be faulted for failing to force DOC to accept or release Grant immediately

because he had no authority to take either action. Because R.S. 15:566 does not provide the

Sheriff authority to execute a sentence at hard labor (unlike the authority granted to him for

misdemeanors under La. R.S. 15:565), he clearly did not have the authority to take any action

other than that given to him under state law. That is, he has up to thirty days of the date upon

which a DOC sentence has been imposed to transfer the defendant to DOC custody. See La. R.S.

15:566. The plaintiff can provide no evidence that Mr. Grant was “dangerous, an escape risk, or

afflicted with a physical or mental disorder” such as to prompt an expedited transfer request by

the sheriff. Any suggestion that the Orleans Parish Sheriff’s Office had a duty or even the

authority to immediately deliver Mr. Grant to DOC, or force DOC to issue a release, is without

merit.

         Following both the law and the Judge’s decision to place Mr. Grant’s legal custody in the

hands of the Department of Corrections for execution of sentence can certainly not be held

against the Sheriff. In Bryan v. Jones, 530 F.2d 1210 (5th Cir. 1976), a case which involved an

error in the records of the District Attorney, the Fifth Circuit found for the Sheriff and held that

“if the errors take place outside his realm of responsibility, he cannot be found liable because he

has acted in good faith.” Youmans v. Torres, 2019 WL 289809 at 5 (M.D. La. 1/22/19)(quoting



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Bryan, 530 F.2d at 1215). The district court in Youmans further found that the prisoner plaintiff

“is a DOC inmate and cannot be released from DOC until they calculate [his] time.” Id. There is

no case which supports the contention that any Sheriff can calculate DOC time or release a DOC

inmate without DOC’s authorization.

        Most importantly, as previously discussed, the overdetention for which he faults OPSO is

based upon a sentence which has been vacated and is an absolute nullity. The dates on which

the plaintiff alleges he was overdetained are encompassed within Judge Buras’ July 18, 2016

sentence. For those reasons alone, the plaintiff was indisputably not entitled to release on June

30, 2016, or any date prior to at least July 18, 2016. The plaintiff has clearly not even identified

a violation of any of his rights.

        e.      The Sheriff not only followed state law, but exceeded what was required
                thereunder.

        In his analysis of whether the Sheriff followed the law, the plaintiff ignored La. R.S.

15:565-566 as inconvenient to his argument to expand the law. The plaintiff’s lone reference to

state law was La C.Cr.P. art. 892(C), which requires that paperwork travel with the inmate to

DOC, is an attempt to criticize the Sheriff for sending the paperwork to the Department of

Corrections in advance of the inmate’s transfer in order to expedite classification. Importantly,

the plaintiff must allege that any deficient policy was the cause of a constitutional violation. The

plaintiff has not plausibly alleged that sending paperwork to DOC in advance caused any

overdetention of the plaintiff. Despite numerous depositions being conducted, he has not elicited

any statement from any DOC representative, or anyone at all, that the Sheriff’s transmission of

paperwork in advance of the inmate’s transfer to DOC impacted Rodney Grant’s release date,

which occurred 16 days after he was physically moved to DOC. The plaintiff has provided no

proof of causation, and has instead provided this Court with no information other than the fact


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that the plaintiff’s paperwork arrived with the legal custodian earlier than it was required to, thus

allowing the complained of calculation to begin.

        Likewise, the plaintiff conveniently omits other portions of state law. When he claims

that the OPSO did not complete the plaintiff’s classification packet, he is attempting to burden

the Sheriff with the obligation of another party not made defendant herein. Plaintiff’s statement

that the bill of information was not included in the classification packet is one which references

La C.Cr.P. art. 892(B)(1), which states: “When a sheriff's statement is required pursuant to

Paragraph A of this Article, the clerk of court shall also prepare the following documents: (a) A

copy of the indictment under which the defendant was convicted . . .” (emphasis added). Judge

Camille Buras also addressed this specifically in her Sentence of the Court, noting “PURSUANT

TO ARTICLE 892 OF THE CODE OF CRIMINAL PROCEDURE, THE CRIMINAL CLERK
                                                                         17
SHOULD NOTIFY THE DEPARTMENT OF CORRECTIONS.”                                 Article 892 does not

require the Sheriff to seek out paperwork from the Clerk. Article 892 does not impose upon the

sheriff to force the Clerk to do his job. Judge Buras did not place such an obligation upon the

Sheriff in her express Sentence of the Court relative to Mr. Grant. 18

        Also important is that there was no bill of indictment relative to Mr. Grant, as he was

instead charged by information. Louisiana law does not use those terms interchangeably or

without purpose, and defendant notes that the phrase “information or indictment” is cited

frequently in various forms of Louisiana law, including the Code of Criminal Procedure 19 and

the Louisiana Constitution itself. 20 That language does not exist here. The starting point in the

interpretation of any statute is the language of the statute itself, “[b]ecause what the legislature


17
   See 136-7, p. 23.
18
   Id.
19
   See La C.Cr.P. art. 701.
20
   See LSA-Const. Art. 1, § 15.

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says in the text of a statute is considered the best evidence of legislative intent.” Watkins v.

Exxon Mobil Corp., 2013-1545 (La. 5/7/14), 145 So.3d 237, 242, citing State v. Williams, 00-

1725, p.13 (La. 11/28/01), 800 S.2d 790, 800. “When a law is clear and unambiguous and its

application does not lead to absurd consequences, the law shall be applied as written and no

further interpretation may be made in search of the intent of the legislature.” Gulley v. Hope

Youth Ranch, 2016-1112 (La. 3/15/17), 221 So.3d 21, 26, citing La. Civ. Code art. 9; Pumphrey

v. City of New Orleans 05-979, p. 10 (La. 4/4/06), 925 So.2d 1202, 1209. Plaintiff is unable to

show that anyone, especially the Sheriff, had a duty to gather a bill of information per La.

C.Cr.P. art. 892.   Mr. Grant’s allegations are without any merit.

       f.      The plaintiff has not established deliberate indifference, and effectively seeks
               single incident Monell liability.

       The Fifth Circuit has indicated that though a single-incident” exception exists to the

requirement that a plaintiff show a pattern or practice in order to establish deliberate indifference

by a municipality, “it is inherently a narrow one, and one that we have been reluctant to expand.”

Burge v. St. Tammany Parish, 336 F.3d 363, 373 (5th Cir. 2003); see also Estate of Davis ex rel.

McCully, 406 F.3d at 385.     In the only apparent case in which the Fifth Circuit has found the

“single-incident” exception, this Court took great care to establish the daunting burden faced by

a plaintiff proceeding with such a theory: he must establish a defendant’s “unmistakable

culpability and clearly connected causation.” Brown v. Bryan County, 219 F.3d 450, 461 (5th

Cir. 2000).    Plaintiff has not even established deliberate indifference, much less the gross and

unmistakable type of culpability and clearly connected causation required.            As stated ad

nauseum, though it cannot be stressed enough, the plaintiff’s period of alleged overdetention was

caused by the July 18, 2016 sentence.




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                                        V. CONCLUSION

       The plaintiff is incorrect in suggesting that this Court has pre-determined the applicability

of Heck to this case. The Sheriff neither argued, nor did the Court analyze, Heck with respect to

OPSO in their Motion to Dismiss filed in this matter. The procedural history of plaintiff’s matter

is essentially identical to that in Taylor, and thus Grant’s claims are likewise precluded under

Heck. When Judge Buras sentenced the plaintiff to “time served” on July 18, 2016, her sentence

included every single day Mr. Grant served between June 27, 2016 and July 18, 2016. Because

it is undisputed that the July 18, 2016 sentence has not been overturned, and because this Court

is precluded from attacking a valid sentence, all of plaintiff’s federal and state law claims against

the OPSO defendants must fail. Furthermore, plaintiff cannot even provide factual support for

the date his sentence ended. There is no statutory or jurisprudential support for the plaintiff’s

alleged right to have his sentence immediately calculated. In seeking to stretch the law to fit his

argument, the plaintiff has misrepresented case law to this Court through use of omission of

critical citations tying these decisions to state law obligations which do not exist in Louisiana. As

the Supreme Court has “forcefully underscored” that the contours of rights must be defined with

a high degree of particularity, this Court should not expand the law as requested by plaintiff.

Because he is unable to prove a violation of any right, he cannot show that any promulgated

policy caused a violation of his rights.    As such, and for the reasons detailed in defendants’

Motion and Memorandum, summary judgment is appropriate and all claims against all OPSO

defendants should be dismissed with prejudice at the sole cost of the Plaintiff.

                                              Respectfully submitted,

                                              ORLEANS PARISH SHERIFF’S OFFICE

                                              /s/Laura Cannizzaro Rodrigue____________
                                              Blake J. Arcuri (LSBN 32322)


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                                       CERTIFICATE

       I hereby certify that on the 21st day of February, 2020 I have caused the foregoing to be

served upon all counsel of record via the Court’s CM/ECF system.



                                                          /s/Laura Cannizzaro Rodrigue____
                                                          Laura C. Rodrigue




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